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19                                  UNITED STATES DISTRICT COURT

20                             NORTHERN DISTRICT OF CALIFORNIA,

21                                     SAN FRANCISCO DIVISION

22   GOOGLE LLC,                                Case No. 3:20-cv-03845-EMC
23                     Plaintiff,               SONOS, INC.’S SUPPLEMENTAL BRIEF
                                                IN SUPPORT OF SUMMARY JUDGMENT
24          v.                                  OF NON-INFRINGEMENT OF ’187
                                                PATENT ASSERTED CLAIMS
25   SONOS, INC.,
                                                Date: July 18, 2024
26                     Defendant.               Time: 1:30 p.m.
                                                Place: Courtroom 5, 17th Floor
27

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 1                                       APPENDIX OF CLAIMS

 2   1. A method for registering a new device as part of a domain of devices, which share rights
     associated with a common account, for use in accessing protected digital content within a digital-
 3   rights management system, the method comprising the steps of:
 4      receiving domain information corresponding to the domain of devices from a device existing
        within the domain of devices;
 5
        providing the domain information to a key issuer, which is separate from the domain of
 6      devices, causing the key issuer to issue a private key to the new device, wherein the private
        key is based on the domain information and is utilized by all devices within the domain of
 7      devices; and

 8      receiving the private key from the key issuer for use in accessing the protected digital content
        within the digital-rights management system.
 9
     3. The method of claim 1 wherein the step of receiving the domain information from the device
10   existing within the domain of devices comprises the step of receiving domain information for the
     device existing within a domain of devices, all devices within the domain sharing account
11
     information.
12
     4. The method of claim 1 wherein the step of receiving the domain information from the device
13   existing within the domain of devices comprises the step of receiving the domain information
     over a short range link.
14
     10. An apparatus comprising:
15
        communication circuitry receiving domain information from a device existing within a domain
16      of devices, which share rights associated with a common account, for use in accessing
        protected digital content within a digital-rights management system;
17
        storage for storing the domain information; and
18
        logic circuitry for providing the domain information to a key issuer, which is separate from the
19      domain of devices, causing the key issuer to issue a private key for use in accessing protected
        digital content to the apparatus, wherein the private key is based on the domain information
20      and is utilized by all devices within the domain of devices.

21   12. The apparatus of claim 10 wherein the domain of devices share account information.

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 1   I.     INTRODUCTION
 2          The Court requested additional briefing on two issues, both of which Google must prevail

 3   on to overcome a summary judgment finding of non-infringement:

 4          First, the Court requested briefing on whether the claim term “private key” must refer to

 5   “the [key] input that prompts the modification to occur,” or whether it can also refer to “the [data]

 6   input that is modified by the algorithm.” Dkt. No. 206 at 24. The answer is that the term “private

 7   key” only refers to the key input and not to the data that is modified by the cryptographic algorithm.

 8   Indeed, to answer this question the Court need look no further than Google’s own statement during

 9   claim construction where it explained that:

10          [T]he term “private key” would have been understood by a person of ordinary skill in
            the art to mean a cryptographic key used in relation to a cryptographic algorithm.
11

12   Dkt. No. 67 (Google CC Brief) at 13 (emphasis added); see also id. at 11 (Google acknowledging

13   that “the parties and their experts agree that this ‘private key’ is a ‘cryptographic key.’”).

14   Conversely, there is no support in either the intrinsic or extrinsic evidence to suggest that a piece

15   of data that is, e.g., encrypted, decrypted, or signed by the cryptographic algorithm can be the

16   claimed “private key.”

17          Second, the Court requested additional briefing on whether there is evidence to support

18   Google’s assertion that the authTokens issued by third-party music providers are “based on” the

19   Sonos household ID. There is not. In fact, there is no evidence in the record showing either how

20   third parties determine which authToken to issue or send or how they create authTokens. And the

21   Sonos documents setting out high-level requirements for the use of an authToken do not suggest or

22   require third-party content providers to do so in a way that would meet this claim limitation.

23   II.    BACKGROUND

24          Google asserts that several Sonos players infringe independent claims 1 and 10, and

25   dependent claims 3, 4, and 12 of the ’187 patent (collectively, the “Asserted Claims”). The ’187

26   patent provides a way for users with multiple media players to obtain access to Digital-Rights

27   Management (“DRM”)-protected content. Dkt. No. 185-3, Ex. A (’187 patent) at 1:14-37. The

28   Asserted Claims require that an accused player provide “domain information” to a third-party key

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 1   issuer, thereby causing that third-party key issuer to issue to the accused player a “private key” that

 2   is “based on the domain information.” See Appendix of Claims. For its only surviving infringement

 3   theory, the “Authentication” theory, Google asserts that the authTokens third-party music providers

 4   deliver to Sonos players are the claimed “private key.” Dkt. No. 189-3 (Google’s Opp. Br.) at 3-4,

 5   8.

 6          Sonos moved for summary judgment of non-infringement, arguing (among other things)

 7   that Google has no evidence with which: (1) to dispute the fact that the authTokens are not “private

 8   keys” and (2) to show that the authTokens are “based on” the accused domain information. In its

 9   order, the Court requested additional briefing on two issues. One, the Court asked that the parties

10   submit claim construction argument on the “narrow issue” of “which input in the cryptographic

11   algorithm the purported key must be.” Dkt. No. 206 at 17. Two, the Court construed the “based

12   on” limitation to require that “the domain information must be somehow used to determine which

13   key is issued in the first instance,” and asked the parties to address “whether there is sufficient

14   evidence in the record to support a jury finding the domain information informs which key is issued,

15   i.e., is the key ‘based on’ the domain information.” Id. at 14, 24.

16   III.   THE CLAIMED “PRIVATE KEY” MUST BE A CRYPTOGRAPHIC KEY
            DESIGNED TO SERVE AS THE KEY INPUT IN A CRYPTOGRAPHIC
17          ALGORITHM.
18          The “private key” recited in the independent Asserted Claims—claims 1 and 10—is a

19   cryptographic key that is used as the key input (rather than as the data input) to a cryptographic

20   algorithm.

21          As Google’s expert, Dr. Sherman, has explained, cryptographic algorithms generally

22   require two inputs: the data (to be, e.g., encrypted, decrypted, or signed) and a key. Dkt. No. 189-

23   4, Ex. 1 (Sherman Rpt.) at ¶¶51-54. For example, in a diagram from Dr. Sherman’s report

24   (reproduced below), the encryption algorithm (on the left) takes two inputs: a data input (the

25   “Plaintext”) and a key input (the “Recipient’s Public Key”). The decryption algorithm also takes

26   two inputs: The “ciphertext” (i.e., the encrypted version of the plaint text) is the data input to the

27   decryption algorithm, and the “Recipients Private key” is the key input.

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 8   Id. at ¶52. Signing algorithms also use these two inputs: the data to be signed and the key used to

 9   sign the data. Id. at ¶53.
10          During claim construction, the Court construed the term “private key” as “[a] non-public

11   key that is used as an input to a cryptographic algorithm designed such that, without the key, the

12   output of the algorithm cannot be computed.” Dkt. No. 108 at 11. Google now argues—based on

13   an ambiguity in its own proposed construction—that a mere data input into a cryptographic

14   algorithm can be the claimed “private key.” Google’s position is frivolous. The extrinsic evidence

15   shows there is no dispute regarding the plain and ordinary meaning of “private key,” and there is

16   nothing in the claims or specification of the ’187 patent that changes the plain and ordinary

17   meaning. In fact, as explained below, during claim construction Google acknowledged that the

18   claimed “private key” must be the “cryptographic key” to a cryptographic algorithm.

19          A.      The Plain and Ordinary Meaning of “Private Key” Refers To A
                    Cryptographic Key Input, Rather Than A Data Input.
20

21          As Google’s expert opined, the term “private key” was well-known in the art to refer to the

22   key input, rather than the data input, of a cryptographic algorithm. Dkt. No. 69-5, Ex. 5 (Sherman

23   CC Decl.) at ¶56 (“In my opinion, the term ‘private key’ had a well-known meaning to those of

24   ordinary skill in the art in the November 2002 time frame. It is a cryptographic key, or string of

25   characters, that is kept private and can be used in asymmetric encryption systems, symmetric

26   encryption systems or for some other purpose, such as for computing a digital signature.”). Indeed,

27   there is no evidence indicating that anyone of ordinary skill in the art has used the term “private

28   key” to refer (interchangeably) to either the data input or key input of a cryptographic algorithm.

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 1   Rather, the extrinsic evidence confirms that the term “private key” refers specifically to the

 2   cryptographic key input used in modifying (e.g., encrypting, decrypting, signing) the data input.

 3           Throughout this case, Google has repeatedly acknowledged that the claim term “private

 4   key” refers to such a “cryptographic key.” During claim construction proceedings, the parties

 5   disputed whether the “private key” could be used for more than encryption and decryption (see Dkt.

 6   No. 108 at 11-15), but both Google and its expert repeatedly acknowledged that the claimed

 7   “private key” is a cryptographic key that is used as the key input to a cryptographic algorithm. In

 8   its claim construction brief, Google explained that “the parties and their experts agree that th[e

 9   claimed] ‘private key’ is a ‘cryptographic key.’” Dkt. No. 67 (Google CC Brief) at 11. Google’s

10   expert likewise admitted “that a private key in the context of the ’187 patent … refers to a

11   cryptographic key.” Ex. L1 (Sherman 3/8/21 Dep. Tr.) at 20:7-11 (emphasis added). And Google

12   further explained that its proposed construction, which was ultimately adopted by the Court, was

13   meant to “reflect[] the common understanding in the art of what a ‘cryptographic key’ is.” Dkt.

14   No. 67 (Google CC Brief) at 11 (emphasis added). Google likewise explained that “the term

15   ‘private key’ would have been understood by a person of ordinary skill in the art to mean a

16   cryptographic key used in relation to a cryptographic algorithm.” Id. at 13.

17           To be clear, the difference between the “key” and “data” inputs extends beyond semantics.

18   As Dr. Sherman explained during deposition, “[a] cryptographic key is a key sequence of characters

19   that is an input to a cryptographic algorithm where the algorithm is designed such that if you

20   don’t know the key, you cannot compute its output.” Ex. L (Sherman 3/8/21 Dep. Tr.) at 16:5-9

21   (emphasis added). In other words, the cryptographic algorithm is specifically designed to require

22   use of a specific kind of cryptographic key. Indeed, when asked “how would you be able to tell if

23   [a] string of characters … is a cryptographic key?” Dr. Sherman explained that one would need to

24   know “[i]f it was used as an input to a cryptographic algorithm where it was designed such that

25   without this - without a key you cannot compute the output of that algorithm.” Ex. L (Sherman

26   3/8/21 Dep. Tr.) at 34:5-11 (emphasis added). Dr. Sherman also drew a distinction between the

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     1
      All exhibits referenced in this Motion are submitted with the Caridis Decl. filed concurrently
28   herewith.
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 1   key input and data input in his prior claim construction declaration—explaining, for example, that

 2   “a ‘private key’ can be used not only to decrypt data or generate digital signatures, but also to

 3   encrypt it, depending on the cryptographic system being used.” Dkt. No. 69-5, Ex. 5 (Sherman CC

 4   Decl.) at ¶54 (emphasis added). This is also consistent with how Sonos’s technical expert, Dr.

 5   Wicker, explained “private keys.” According to Dr. Wicker, “the algorithm that a cryptosystem

 6   uses to map plaintext to ciphertext is controlled by a key, which may take the form of a relatively

 7   short string of letter and/or numbers” and which “is often called a ‘private key.’” Ex. M (Wicker

 8   Rpt.) at ¶57 (emphasis added).        Thus, like Dr. Sherman, Dr. Wicker understands that a

 9   cryptographic algorithm is designed to work specifically with a particular, corresponding kind of

10   cryptographic key.

11            By contrast, a cryptographic algorithm is not designed to work only with a particular data

12   input. Rather, such algorithms can be used with virtually any data input, allowing the algorithm to,

13   e.g., encrypt, decrypt, or digitally sign whichever data or message is input.2

14            The use of the term “private key” in the art reflects this functional distinction, as the

15   extrinsic evidence repeatedly confirms that the term “private key” is used to refer to the key input,

16   and not to the data input, of a cryptographic algorithm.3 For example, in Dr. Sherman’s expert

17   report, discussed above, Dr. Sherman uses the term “private key” to refer to the particular key input

18   of a cryptographic algorithm, and uses other generic terms, like “message,” “plaintext,”

19   “ciphertext” or “data” to refer to the kinds of data upon which the cryptographic algorithm acts.

20   See Dkt. No. 189-4, Ex. 1 (Sherman Rpt.) at ¶¶51-53 (showing “private keys” as the key input).

21   The websites that Dr. Sherman cites in his infringement report as support employ substantially the

22   same terminology.      See Ex. N (https://www.geeksforgeeks.org/digital-signatures-certificates/)

23   (referring to the key input as a “key” and the data input as, e.g., “message,” “original text,” and

24
     2
         For example, in
25                                                                See Ex. M (Wicker Rpt.) at ¶¶199-
     201; Dkt. No. 189-4, Ex. 1 (Sherman Rpt.) at ¶¶232, 387, 403, 439, 665.
26   3
       As explained more in Section III.B below, it is possible that one could, for example, attempt to
     encrypt a private key and thereby use that private key as the data input to a cryptographic
27   algorithm that makes use of a different key. But that “private key” it not a cryptographic key
     simply because it can be encrypted. It only qualifies as a private key if there is a cryptographic
28   algorithm designed to use it as the key.
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 1   “original data”). And, notably, Dr. Sherman never suggests that the term “private key” could

 2   interchangeably also refer to this data input. Dr. Wicker likewise reinforced this difference, and

 3   explained how in digital signature algorithms, there is a clear difference between the cryptographic

 4   “key” and “the data (to be encrypted/decrypted/signed/verified).” Ex. M (Wicker Rpt.) at ¶¶199-

 5   201.

 6          This distinction is also reflected in multiple dictionary definitions from the time of the

 7   alleged invention, each of which use the term “key” to refer to the key input and other terms (like

 8   “data” or “message”) to refer to the data upon which the cryptographic algorithm is acting. For

 9   example:

10                 Microsoft Computer Dictionary, 5th Ed. (2002) (Ex. O) at 135 defines

11                  “cryptography” as “The use of codes to convert data so that only a specific recipient

12                  will be able to read it using a key.”

13                 Microsoft Computer Dictionary, 5th Ed. (2002) (Ex. P) at 300 defines “key” as “In

14                  encryption and digital signatures, a string of bits used for encrypting and decrypting

15                  information to be transmitted.”

16                 Dictionary of Computer Science, Engineering, and Technology (2001) (Ex. Q) at

17                  266 defines “key” as “in encryption, a value used to encrypt or decrypt a message

18                  according to the algorithm decrypt(key,encrypt(key,message))=message.”

19                 Newton’s Telecom Dictionary (2001) (Ex. R) at 389 defines “key” as “In

20                  encryption, a key is a data string which, when combined with the source data

21                  according to an algorithm, produces output that is unreadable until decrypted. A

22                  key can also be used to decrypt a data string.”

23                 The New Penguin Dictionary of Computing (2001) (Ex. S) at 267 defines “key” as

24                  “In cryptography, a piece of secret additional information that must be known in

25                  order to decode an encrypted message.”

26                 Webster’s New World Dictionary of Computer Terms, 8th Ed. (2000) (Ex. T) at 306

27                  defines key as “In cryptography, the procedure that is used to encipher the message

28                  so that it appears to be just nonsense. The key also is required for decryption. Public

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 1                  key cryptography uses two keys: a private key and a public key. A user makes the

 2                  public key known to others, who use it to encrypt messages; these messages can be

 3                  decrypted only by the intended recipient of a message, who uses the private key to

 4                  do so.”

 5          These definitions confirm that, in the context of a cryptographic algorithm, the term “key”

 6   is not understood to refer generally to either the data or the key input—instead it refers specifically

 7   to the key input. In other words, the “key” is not “the input that is modified by the algorithm” but

 8   is instead “the input that prompts the modification to occur.” Dkt. No. 206 at 24.

 9          B.      The ’187 Patent Uses “Private Key” To Refer To A Cryptographic Key Input.
10          In light of the well-known distinction between the cryptographic keys that control

11   cryptographic algorithms and the data upon which those cryptographic algorithms act, it is not

12   surprising that the ’187 patent uses the term “private key” exclusively to refer to the cryptographic

13   key input, and not to the data input into the cryptographic algorithm. In particular, when describing

14   certain cryptographic techniques, the specification explains that “The private key is used for either

15   decrypting data or generating digital signatures and the public key is used for either encrypting

16   data or verifying digital signatures.” Dkt. No. 185-3, Ex. A (’187 patent) at 2:45-49. As such,

17   the patent—like the parties’ experts, industry definitions, and literature—use the term “key” to refer

18   to the key input and employ different terms—“data” and “digital signatures”—to describe the data

19   input upon which the cryptographic algorithm is acting.

20          While the ’187 patent does include some description of cryptographic algorithms acting on

21   data inputs that happen to also be cryptographic keys, these disclosures do not indicate that data

22   may be deemed a “private key” simply because it is used as the data input into a cryptographic

23   algorithm. In particular, the patent explains how a rights object can include “an encrypted

24   encryption key (content encryption key)” which was “encrypted with the DRM public key so it can

25   be decrypted only using the DRM private key.” Id. at 4:52-56. This concept is also recited in

26   unasserted claims 6 and 14. This material explains only that a cryptographic key (in this case, the

27   content encryption key) can be used as the data input to a cryptographic algorithm, but that does

28   not somehow transform the content encryption key into the claimed “private key.” Rather, the

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 1   content encryption key is a cryptographic key because there is another cryptographic algorithm

 2   designed to use that content encryption key to decrypt content. 4 See id. at 6:60-62 (“Content 204

 3   is decrypted, and is rendered by application 203. Logic circuitry 210 controls these functions.”).

 4           Specifically, in one embodiment there are two different cryptographic algorithms, each with

 5   their own cryptographic key. The DRM key is the key to a first cryptographic algorithm that

 6   decrypts the encrypted content encryption key. The content encryption key is the key to a second

 7   cryptographic algorithm that decrypts the, e.g., music content. It is because the “content

 8   encryption key” is used with this second cryptographic algorithm, and not the fact that the “content

 9   encryption key” can be data that is encrypted and decrypted, that makes it a cryptographic key. To

10   put it differently, you can use a cryptographic key as a data input to a cryptographic algorithm (that

11   encrypts using a separate key) to produce an encrypted key, but that does not mean that all data

12   inputs to cryptographic algorithms are cryptographic keys, much less that they are cryptographic

13   keys because they are data inputs to a cryptographic algorithm. Or, to provide a more concrete

14   analogy, one can lock objects (data)—including a key—inside of a safe (cryptographic algorithm)

15   but that does not mean that any object becomes a safe key (cryptographic key) whenever locked

16   inside of a safe.

17           Accordingly, nothing about this disclosure or the unasserted claims supports the idea that

18   Google can prove a piece of data is a “private key” by showing that it serves as the data input to a

19   cryptographic algorithm with its own separate key. Because that is what Google is attempting, the

20   Court should grant summary judgment of non-infringement.

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     4
       Further, this “content encryption key” is irrelevant to the claimed “private key” at issue in the
24   Asserted Claims, because it is not “based on the domain information.” Specifically, the ’187
     Patent discloses that the “content encryption key” is contained in “[t]he rights object.” Dkt. No.
25   185-3, Ex. A (’187 Patent) at 4:52-54. The “rights object” is generated “based on information
     (e.g. the DRM public key) in the DRM certificate.” Id. at 4:48-51. The ’187 Patent discloses that
26   the “DRM certificate” does not comprise or contain the “domain information,” rather it
     “comprises a DRM public key (the corresponding DRM private key is securely stored in user
27   equipment 101), identification information (e.g., the unique serial number or model number
     belonging to the user equipment 101), and a digital signature generated by the key issuer 105.”
28   Id. at 3:57-62.
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     IV.    THERE IS NO EVIDENCE IN THE RECORD UPON WHICH A JURY COULD
 1          FIND THAT THE AUTHTOKENS ARE “BASED ON” THE HOUSEHOLD ID.
 2          Google and its expert, Dr. Sherman, have adduced no evidence demonstrating that the

 3   authTokens supplied by third-party content service providers are based on the Sonos household ID.

 4   The Court construed the “based on” limitation to require that “the domain information must be

 5   somehow used to determine which key is issued in the first instance.” Dkt. No. 206 at 11, 14. But,

 6   as explained below, the party that “determine[s] which key is issued” is a third-party content

 7   service, and Google has not obtained any evidence demonstrating how those third-party music

 8   services generate or select the authTokens that they supply to Sonos devices.

 9          The evidence in the record shows that when a Sonos user first adds a music service to a

10   Sonos household, a Sonos device will send a getDeviceAuthToken request message to the third-

11   party music service, and that message will include the “household ID” that identified the household

12   to which the device belongs. Dkt. No. 189-4, Ex. 1 (Sherman Rpt.) at ¶¶153, 155, 238, 246. The

13   third-party music service sends an “authToken” in response to the getDeviceAuthToken request.

14   Id. at ¶¶153, 155. The music providers are responsible for defining their own process for issuing

15   their own authTokens, and there is no evidence in the record relating to how third parties create or

16   determine which authToken to send in response.

17          As explained in Sonos’s previous briefs (Dkt. No. 184-3 (Sonos Op. Br.) at 10-12; Dkt. No.

18   195-3 (Sonos Reply Br.) at 5-6), this lack of evidence regarding how the authToken issuers generate

19   or select the authToken to send in response to a getDeviceAuthToken is fatal to Google’s

20   “Authentication” infringement theory. Google’s evidence shows, at most, that the third-party

21   content service receives the household ID and can associate the authToken with that household ID

22   after the fact. Dkt. No. 206 at 14-15. But without evidence regarding the third-party issuance

23   process itself, Google cannot show that the authToken is “based on” the household ID.

24          In its order requesting additional briefing, the Court suggested that a specific Sonos

25   document “might” provide evidence that the authTokens are based on the household ID. Dkt. No.

26   206 at 15. That document, from Sonos’s developer page for third-party content services says “If a

27   user connect[s] to more than one Sonos household, your service must use a different token to

28   represent that user-household combination.” See Dkt. No. 189-4, Ex. 1 (Sherman Rpt.) at ¶292.

                                                                                SONOS’S SUPP. BRIEF ISO
                                                     9                         MSJ OF NON-INFRINGEMENT
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 1   This document fails to show that any third party bases any authToken on the household ID for two

 2   reasons.

 3          First, nothing about the quoted sentence demonstrates that any third-party content provider

 4   uses a system that consults the household ID to determine which authToken to send in response.

 5   Again, there is no evidence regarding how any third-party content providers makes that

 6   determination.

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 9          Specifically,

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17   Dkt. No. 189-4, Ex. 1 (Sherman Rpt.) at ¶109

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19   Dkt. No. 184-5, Ex. C (Sherman 6/16/23 Dep. Tr.) at 96:10-17

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21                In other words, a third-party music service can ensure that a user connecting to more

22   than one Sonos household will receive different authTokens—without using the household ID at

23   all—by simply tracking which authTokens it has already issued and not issuing duplicates (or by

24   employing a method of assigning authTokens that guarantees their uniqueness).

25          Accordingly, the Sonos developer’s website does not instruct or require (or otherwise

26   indicate) a third-party music service to use the household ID in determining which authToken to

27   issue in the first instance. While it is theoretically possible that a third-party music service could

28   take (unnecessary) steps to double check that issued authTokens were unique by somehow

                                                                                 SONOS’S SUPP. BRIEF ISO
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 1   considering the household ID, there is no evidence that any third party does that, and without such

 2   evidence, Google can only ask the jury to speculate in its favor. That is not sufficient to withstand

 3   summary judgment. See McSherry v. City of Long Beach, 584 F.3d 1129, 1136 (9th Cir. 2009)

 4   (“Surmise, conjecture, theory, speculation and an advocate’s suppositions cannot do duty for

 5   probative facts and valid inferences.” (citations and internal quotation marks omitted)).

 6          Second, even if there were evidence that third-party music services consult the household

 7   ID to ensure that they do not issue a duplicative authToken, that would still not show that the

 8   household ID is used to “determine which [authToken] is issued in the first instance.” Dkt. No.

 9   206 at 15. This check would, at best, eliminate a few of the potentially infinite authTokens that

10   might issue, but still does not “determine” which authToken issues. Instead, it determines which

11   of a handful of authTokens (those that are already used) will not issue. It is akin to suggesting a

12   child’s name is “based on” her older sibling’s name because her parents eliminated that name from

13   contention to avoid having two children with same name.

14          The ’187 patent does not indicate that a private key is “based on” the domain information

15   where the domain information merely rules out a couple of the potentially infinite possibilities for

16   the private key. Rather, as the Court recognized in its order, the ’187 patent describes the domain

17   information dictating precisely which private key will be issued, where “the former is used to ‘look

18   up’ the latter.” Dkt. No. 206 at 13. Here, there is no evidence that the household ID is used at all,

19   let alone that it determines which key will issue. The Court should therefore grant summary

20   judgment of non-infringement.

21

22   Dated: June 5, 2024                           ORRICK HERRINGTON & SUTCLIFFE LLP
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23                                                 LEE SULLIVAN SHEA & SMITH LLP
24                                                 By: /s/ Alyssa Caridis
25                                                                  Alyssa Caridis

26                                                              Attorneys for Sonos, Inc.

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                                                                                 SONOS’S SUPP. BRIEF ISO
                                                     11                         MSJ OF NON-INFRINGEMENT
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